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11                                              Cayman Islands Corporation
12
                                UNITED STATES DISTRICT COURT
13                            NORTHERN DISTRICT OF CALIFORNIA
                                      SAN JOSE DIVISION
14
15   ARIEL ABITTAN,                              Case No. 20-CV-09340-NC
                                                 Filed: December 24, 2020
16                          Plaintiff,
17            v.                                 JOINT STATUS UPDATE
                                                 REGARDING INITIAL
18   LILY CHAO, et. al.                          DISCLOSURES
19                           Defendants,
                                                 Judge: Hon. Nathanael Cousins
20            and
21   EIAN LABS INC.,
22                  NOMINAL DEFENDANT.
23   YUTING CHEN,                                Case No. 21-CV-09393-NC
                                                 Filed: December 3, 2021
24                     Plaintiff,
25          v.
26   ARIEL ABITTAN, et. al.,
27                     Defendants.
28

     JOINT STATUS LETTER                                             CASE NO. 20-CV-09340-NC
     REGARDING INITIAL DISCLOSURES                                   CASE NO. 21-CV-09393-NC
         Case 5:21-cv-09393-NC Document 90 Filed 04/25/23 Page 2 of 3



 1          Pursuant to this Court’s April 12, 2023 Order [ECF No. 182] in Case No. 5:20-CV-09340

 2   (the “Abittan Case”) and [ECF No. 82] in Case No. 5:21-CV-09393 (the “Chen Case”), Plaintiff
 3   Ariel Abittan (“Abittan”) and Defendants Lily Chao, Damien Ding, and Temujin Labs Inc. (the
 4   “Abittan Case Defendants”), and Plaintiff Yuting Chen (“Chen”) and Defendants Abraham Abittan,
 5   Rachel Abittan, Brian Abittan, Jacob Abittan, Alyssa Abittan, Eliana Abittan, Roy Graber, Tova

 6   Graber, and Realtime NY LLC (together with Abittan, the “Chen Case Defendants”)1 submit this
 7   joint status update regarding initial disclosures with a proposed agenda for the hearing set for April
 8   26, 2023.

 9          The parties have not resolved their dispute regarding initial disclosures. Per the Court’s
10   request, the parties intend to address their positions at tomorrow’s hearing.
11          The parties propose the following agenda:
12          1. Chen Case:
13                  a. Damages deficiencies
14                  b. Personal residences of Yuting Chen and Damien Ding
15                  c. Location of documents
16          2. Abittan Case:
17                  a. Location of documents
18                  b. Declaration of Damien Ding
19          3. Additional discovery topics:
20                  a. Yuting Chen’s improper use of “Attorney’s Eyes Only” designation on
21                      documents
22                  b. Abittan’s request for additional deposition time, over 7 hours, based on Yuting
23                      Chen’s request and need for a translator.
24   Respectfully submitted,
25   FREEDMAN NORMAND FRIEDLAND LLP                                 SAC ATTORNEYS LLP
26   /s/ Brianna K. Pierce                                          /s/ James Giacchetti
     Brianna K. Pierce                                              James Giacchetti
27
     1
      The Chen Case Defendants, other than Ariel Abittan, do not consent to personal jurisdiction or
28   waive any challenges to personal jurisdiction by filing this joint discovery letter.

     JOINT STATUS UPDATE                               2                         CASE NO. 20-CV-09340-NC
     REGARDING INITIAL DISCLOSURES                                               CASE NO. 21-CV-09393-NC
        Case 5:21-cv-09393-NC Document 90 Filed 04/25/23 Page 3 of 3



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     Attorneys for Abittan and the                  Attorneys for Chen and the Abittan
 2   Chen Case Defendants                           Case Defendants
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     JOINT STATUS UPDATE                   3                     CASE NO. 20-CV-09340-NC
     REGARDING INITIAL DISCLOSURES                               CASE NO. 21-CV-09393-NC
